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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                                No. 4:08CR00063-04 JLH

PATRICK JONES                                                               DEFENDANT

                                        ORDER

      Pending before the Court is the government’s motion for continuance of the supervised

release revocation hearing currently set for Tuesday, December 11, 2012.    The motion is

GRANTED. Document #135. The hearing on the pending motion and supplemental motion to

revoke supervised release of defendant Patrick Jones is hereby rescheduled for TUESDAY,

DECEMBER 18, 2012, at 10:00 A.M., in Courtroom #4-D, Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Documents #107 and #132.

      IT IS SO ORDERED this 10th day of December, 2012.




                                                _________________________________
                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
